 

Case 1:11-ov-01148-RDB Dooument 42 Filed 11/01/13 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE ])ISTRICT OF MARYLAND i

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Deborah Henze *
Plaintiff 7 | mg mg __` p 5 22_
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§ ""C"-. iiE'-
v' Case No. RDBEI- [-§§ 8‘§;;§|5§;`€£
* |\-
Alfred Lee-Young, MD__ et al §§ 7 ;:EF,LE_§,`{
Defendant *****=1= w -
ORDER OF JUDGMENT

 

The jury having returned a verdict in favor of the Defendant Alfred Lee-Young against

the Pla.intiff Deborah Henze, and counsel for the parties having agreed that the Verdict in favor

 

of the Defendant Lee-Young also applies to the named Co-Defendant Carroll Digestive
Associates, P.A. it is this / fr day of November, 2013,

OR])ERED,

l. Judgment is entered in favor of Defendants Alfred Lee-Young and Carroll
Digestive Associates, P.A. against Plaintiff, Deborah Henze with costs; and

2. Any and all prior rulings made by the Court disposing of any claims against any
parties are incorporated by reference herein, and this Order shall be deemed to be a final

judgment within the meaning of Fed. R. Civ. P. 58.

adeath

RichardD. Bennett
United States District Judge

Order of Judgmenl (in favor of Defendant) (Rev. 12f2000)

